                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA            )
                                    )
           v.                       ) Criminal No. 1:17-CR-10066-IT
                                    )
F. RIVERA-RODRIGUEZ, a/k/a          )
JOSE ANTONIO LUGO-GUERRERO, ET. AL. )



                 GOVERNMENT’S MOTION FOR PROTECTIVE ORDER

       The United States respectfully requests the Court issue the attached protective order to

protect against the dissemination of discovery concerning cooperating defendants likely to testify

at trial. The government submits that the protective order is necessary to assure the safety of the

cooperating defendants. As grounds for this motion, the government states as follows:

       The trial in this matter is scheduled to commence on September 10, 2018, and the Local

Rules require the disclosure of certain materials concerning two anticipated cooperating

defendants. See, i.e. Local Rule 116.2(b)(2). Both of the cooperating defendants have expressed

fear that the disclosure of their cooperation will put their safety at risk. Based on the evidence

uncovered during trial, that fear is well-founded, as the evidence showed one or more of the

defendants used firearms, violence, and threats of violence during the course of their conduct.

Accordingly, the government requests that the Court issue an order restricting the use of the

discovery material for the limited purpose of enabling each of the defendants to prepare for trial.

Federal Rule of Criminal Procedure 16(d) and Local Rule 116.

       WHEREFORE, the United States respectfully requests that the Court issue a Protective

Order requiring no disclosure of the discovery except pursuant to the terms of the Order.

Consistent with the terms of the Order, the discovery may be disclosed by counsel of record in
this case so long as such disclosures are made for the sole purpose of preparing for trial in the

pending case. Such disclosures may be made by counsel of record for a defendant in the case to:

(a) the defendant represented by that counsel of record; (b) other counsel of record in the pending

case; (c) a counsel of record’s partners, associates, paralegals, designated defense investigators,

and stenographic employees involved in the defense of this case; (d) such independent experts as

may be selected by defense counsel to furnish technical or expert services or give testimony in

the case; and (e) other persons, but only pursuant to order of the Court based upon a showing of

particularized need.

       A proposed Order is attached. Pursuant to Local Rule 7.1(A)(2), the undersigned counsel

certifies that he has distributed via email on July 20, 2018 a draft of the motion and proposed

order to counsel for the three defendants remaining for trial. Counsel for Isis Lugo-Guerrero

does not object to the issuance of the requested order. Counsel for the other two defendants have

not responded.


                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      UNITED STATES ATTORNEY


                                              By:     /s/ Theodore B. Heinrich
                                                      Theodore B. Heinrich
                                                      Assistant U.S. Attorney

Dated: July 23, 2018




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                           FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                             )
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               v.                                    ) Criminal No. 1:17-CR-10066-IT
                                                     )
F. RIVERA-RODRIGUEZ, a/k/a                           )
JOSE ANTONIO LUGO-GUERRERO

                                             ORDER

       This matter comes before the Court on the government’s motion for a Protective Order.

The Court FINDS that there is good cause to grant the motion. Accordingly, it is hereby

ORDERED that:

       The disclosure of discovery materials concerning the cooperating defendants to counsel

are governed by this Order, which requires no disclosure of the discovery except pursuant to the

terms of the Order. The discovery may be disclosed by counsel of record in this case so long as

such disclosures are made for the sole purpose of preparing for trial in the pending case. Such

disclosures may be made by counsel of record for a defendant in the case to: (a) the defendant

represented by that counsel of record; (b) other counsel of record in the pending case; (c) a

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may be selected by defense counsel to furnish technical or expert services or give testimony in

the case; and (e) other persons, but only pursuant to order of the Court based upon a showing of

particularized need.


                                              _______________________________
                                              HON. INDIRA TALWANI
                                              UNITED STATES DISTRICT JUDGE
Dated: ___________________                    DISTRICT OF MASSACHUSETTS
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